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                                UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA,
                                                              Case No. 20cr0275-AJB

                                           Plaintiff,
                        vs.
                                                              JUDGMENT OF DISMISSAL
Alison Marie Arnold (1)

                                        Defendant.



IT APPEARING that the defendant is now entitled to be discharged for the reason that:

      an indictment has been filed in another case against the defendant and the Court has
 •    granted the motion·ofthe Government for dismissal of this case, without prejudice; or

 •    the Court has dismissed the case for unnecessary delay; or

      the Court has granted the motion of the Government for dismissal, without prejudice; or

 •    the Court has granted the motion of the defendant for a judgment of acquittal; or

 •    a jury has been waived, and the Court has found the defendant not guilty; or

 •    the jury has returned its verdict, finding the defendant not guilty;

      of the offense(s) as charged in the Information:
      21:952, 960; 18:2 - Importation of Methamphetamine (Felony); Aiding and Abetting (Felony)




 Dated:    7/7//2020
                                                         Hon. Daniel E. Butcher
                                                         United States Magistrate Judge
